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                                                  February 18, 2022


VIA ECF FILING

The Honorable George L. Russell, III
United States District Court
       For the District of Maryland
101 West Lombard Street
Baltimore, Maryland 21201


Re:     XL Specialty Ins. Co. v. Bighorn Construction & Reclamation, LLC, et al.
        Civil Action No.: 1:21-cv-03068-GLR

Dear Judge Russell:

In response to your letter of February 11, 2022 (ECF 16), Defendants respond as follows:

       1.     Whether the parties object to having the case transferred to a U.S. Magistrate
Judge for all further proceedings. Defendants do not agree to the case being referred to a
Magistrate Judge for all further proceedings.

        2.      Whether you would like to participate in a settlement conference either before
or after the completion of discovery. Defendants would like to participate in a settlement
conference before the completion of discovery. Defendants do not believe that extensive discovery
is required in this matter as the focus of the case should be limited to how much money Plaintiff
may remit to pay bond claimants arising from two (2) construction projects.

      3.     Whether discovery of electronically stored information is expected to be
problematic. Defendants do not expect any problem with electronically stored information.

         4.      Whether you would like to defer any of the expert discovery until after
summary judgment motions are resolved. At present, Defendants do not anticipate the need for
expert discovery in this case. Accordingly, Defendants would like to defer any expert discovery
until after resolution of any dispositive motions.

       5.     Any changes to the dates in the preliminary scheduling order. Defendants have
no proposed changed to the dates set forth in the preliminary scheduling order.

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        6.     Whether the allocated deposition hours are sufficient. The deposition hours are
sufficient.

        7.     Setting a trial date on the Court’s calendar and determining its likely duration.
Defendants would prefer to set the trial date at the conclusion of the Court’s decision(s) on
dispositive pretrial motions.

      We look forward to the scheduling conference set for Tuesday, February 22, 2022.
Defendants do not anticipate that this case will take longer than one full court day.

                                            Very truly yours,



                                            Thurman W. Zollicoffer, Jr.
                                            (Fed. Bar No.: 23256)

TWZ/ksm

cc:     All Counsel of Record (via ECF filing)
